OJS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)
                       Case 1:19-mj-06206-MPK Document 1-2 Filed 04/17/19 Page 1 of 2
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense:                            Category No.      II                   Investigating Agency       ATF

City       Buzzards Bay                              Related Case Information:

County         Barnstable                            Superseding Ind./ Inf.   N/A                   Case No.
                                                     Same Defendant                            New Defendant
                                                     Magistrate Judge Case Number             19-6206-MPK
                                                     Search Warrant Case Number
                                                     R 20/R 40 from District of

Defendant Information:

Defendant Name           Justin Freeman Watson                                  Juvenile:               G Yes G
                                                                                                              ✔ No

                         Is this person an attorney and/or a member of any state/federal bar:           G   Yes ✔
                                                                                                                G No
Alias Name               N/A

Address                  (City & State) Mashpee, MA
                      1985 SSN (last4#):________
Birth date (Yr only): _____              2718        M
                                                 Sex _____                       W
                                                                          Race: ___________         Nationality: ____________________

Defense Counsel if known:                                                           Address

Bar Number

U.S. Attorney Information:

AUSA          Eugenia M. Carris                                          Bar Number if applicable

Interpreter:              G Yes          ✔ No
                                         G                   List language and/or dialect:

Victims:                        ✔ No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                           GYes G                                                                              G Yes      9 No

Matter to be SEALED:                    G Yes
                                        ✔           G     No

          G✔ Warrant Requested                          G Regular Process                      G In Custody

Location Status:

Arrest Date

G Already in Federal Custody as of                                                    in                                     .
G Already in State Custody at                                           G Serving Sentence             G Awaiting Trial
G On Pretrial Release: Ordered by:                                                     on

Charging Document:                       ✔ Complaint
                                         G                          G Information                   G Indictment
                                                                                                                 1
Total # of Counts:                       G Petty                    G Misdemeanor                   G Felony
                                                                                                    ✔

                                              Continue on Page 2 for Entry of U.S.C. Citations

G
✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:     04/17/2019                              Signature of AUSA:
                       Case 1:19-mj-06206-MPK Document 1-2 Filed 04/17/19 Page 2 of 2
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                Justin Freeman Watson

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged       Count Numbers

Set 1     18 U.S.C. § 922(a)(6)                      False Statements During Purchase of Firearms    1


Set 2


Set 3


Set 4


Set 5


Set 6


Set 7


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
